        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 1 of 22




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

 CYNTHIA RUTHRAUFF, individually
 and on behalf of all others similarly
 situated,
                                              Civil Action No. 1:18-cv-00704
                   Plaintiff,

       v.

 LUMINESS DIRECT, LLC,

                   Defendant.


           PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT LUMINESS DIRECT, LLC’S MOTION TO DISMISS

I.    INTRODUCTION

      This case challenges Defendant Luminess Direct, LLC’s (“Defendant” or

“Luminess”) serial violations of the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq. (“TCPA”). The claims are straightforward: without prior

express consent, Luminess spams consumer's cellphones with text messages urging

them to buy its cosmetic products. Worse yet, the opt-out mechanism on

Defendant’s text messaging platform is broken—it fails to honor and process valid

“Stop” requests so that Luminess discontinues texting once a consumer opts out.

Indeed, rather than receive a “Stop” message from a consumer’s phone and cease



                                                                                  1
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 2 of 22




the transmission of future texts, Defendant continues to send unsolicited text

messages to users in blatant violation of the TCPA.

      Plaintiff Cynthia Ruthrauff (“Plaintiff” or “Ruthrauff”) is just one of many

consumers who tried unsuccessfully to opt-out by responding “Stop” to

Defendant’s harassing texts. Yet rather than apologize to Ruthrauff, let alone

correct its systemic errors, Luminess hides behind an arbitration provision

supposedly tucked away in Terms and Conditions of Purchase (“Terms”) found on

a website located at URL http://www.LuminessAir.com (the “Luminess Website”).

      Fortunately for Ruthrauff and the members of the alleged Class, Luminess

cannot invoke its supposed arbitration agreement against Ruthrauff, who never saw

or assented to the terms. That is, Ruthrauff’s purchase was made over the phone—

not through the Luminess Website—and Ruthrauff never assented to the arbitration

clause or even to the Website’s Terms more generally. She never saw them

because Luminess failed to reasonably notify her of their existence.

      Luminess disagrees and asserts that it informed Ruthrauff of the existence of

the Terms by: (1) including a short statement about them during one of its

television infomercials, (2) supposedly briefly mentioning the Terms on a pre-

recorded message a caller hears upon dialing Luminess, and (3) inserting a mention

of the Terms in small print on its packing list. Such assertions go nowhere. Put


                                                                                     2
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 3 of 22




simply, Ruthrauff and other consumers who made phone purchases were not put on

reasonable notice of the Terms so as to empower Luminess with the right to

enforce them.

      In any event, and assuming solely for the sake of argument that the Court

finds that a valid contract to arbitrate was formed, the Terms are unenforceable

because they are procedurally and substantively unconscionable. The Terms

represent a contract of adhesion that is entirely one-sided and renders arbitration—

and the vindication of Plaintiff’s rights—nearly impossible. As such, even if the

Court concludes an agreement was formed (it wasn’t), it should not be enforced.

      As such, and as explained further below, Defendant’s arguments fall apart,

and the Court should deny its Motion to Compel Arbitration.

II.   FACTUAL BACKGROUND

      Defendant Luminess is a cosmetics company. (Compl. ¶ 9.) In or around

August 2016, after seeing some portion of a Luminess infomercial, Plaintiff

ordered cosmetic products from Luminess over the telephone. (See “Declaration of

Cynthia Ruthrauff,” attached hereto as Exhibit A, ¶ 1.) Nearly a year later, on July

15, 2017, Ruthrauff began receiving text messages from Luminess advertising its




                                                                                       3
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 4 of 22




products and other promotions. (Compl. at ¶¶ 24-29.)1 Ruthrauff responded “Stop”

on numerous occasions, including on July 15, 2017, July 29, 2017, and September

16, 2017. (Id. ¶¶ 25-28.) This was to no avail. Luminess ignored Ruthrauff’s

“Stop” requests and continued to bombard her with text messages. (Id.) As such,

Plaintiff filed the instant action seeking damages and injunctive relief to put an end

to Defendants’ continued text messages. (Dkt. 1.)

      On March 27, 2018, Luminess filed its Motion to Dismiss. (Dkt. 10.)

Luminess contends that the informercial Plaintiff watched some portion of advised

viewers at some point in the program that Luminess's Website Terms and

Conditions ("Terms") would apply to the television offer and directed viewers to

its website, which allegedly contained the Terms. (Dkt. 10 at 2.) Luminess further

contends that after Ruthrauff purchased products over the phone, Luminess

shipped the products and enclosed a Packing List that referred to the Luminess

Website for the terms and conditions. (Id.) The reference to the Website on the



1
 Luminess claims that Plaintiff consented to receive text messages from it during
the August 2016 phone call. (Mot. at 2.) Importantly, however, the TCPA requires
prior express written consent for telemarketing text messages like the ones at issue
in this case. See, e.g., Coleman v. Rite Aid of Georgia, Inc., 284 F. Supp. 3d 1343,
1347 (N.D. Ga. 2018). Thus, while the issue is not presently before the Court, it is
worth noting that Luminess’s oral consent theory is wholly insufficient to support a
prior express consent defense under the TCPA. Luminess's only hope is that the
Court will save it through arbitration.

                                                                                     4
         Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 5 of 22




Packing List is buried all the way at the bottom of page 2 of the List and is in small

print. (See Dkt. 10-1 at 9.) Finally, Luminess contends that on some subsequent

calls initiated by Plaintiff, Plaintiff would have heard some sort of recorded

message mentioning the Terms on Luminess’s website. (Id. at 7.)

       As explained more fully below, Luminess cannot show on the present record

that an enforceable arbitration agreement was formed and, as such, the Motion

should be denied.

III.   ARGUMENT

       It is well settled that “arbitration is a creature of contract.” Brown v. ITT

Consumer Fin. Corp., 211 F.3d 1217, 1221 (11th Cir. 2000). A court cannot

compel parties to arbitrate their dispute in the absence of clear agreement to do so.

See Klay v. All Defendants, 389 F.3d 1191, 1200 (11th Cir. 2004). In order “[t]o

satisfy itself that such agreement exists,” courts must undertake to resolve any

issues relating to the formation of the arbitration agreement, Granite Rock

Company v. International Brotherhood of Teamsters, 561 U.S. 287, 297 (2010).

       The Court should deny Luminess’s Motion. The Terms that Luminess points

to as the basis for compelling arbitration are invalid and unenforceable against

Plaintiff Ruthrauff for at least two reasons. First, the Terms were contained on a

website that Plaintiff never visited and was never directed to (see Ex. A. ¶¶ 3-5);


                                                                                        5
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 6 of 22




rather, the transaction between Plaintiff and Luminess was over the telephone.

Vague references to the Terms during a television infomercial and a brief mention

of the Terms—but not the arbitration clause—buried in small print on a packing

slip are insufficient to constitute mutual assent to arbitrate. Ruthrauff cannot be

compelled to arbitrate based on a contract of which she was never made aware.

      Second, even if the Court finds that a valid contract was formed, the Terms

are procedurally and substantively unconscionable. There is a clear inequality of

bargaining power, lack of any negotiation, and one-sided substantive provisions

that make arbitration nearly impossible to pursue with the assistance of counsel.

      Accordingly, and as explained further below, the Court should deny

Luminess’s Motion to Dismiss and allow the case to move forward.

      A.       Luminess Cannot Rely on the Arbitration Agreement Supposedly
               Located on its Website—Ruthrauff Never Visited the Website,
               Was Never Reasonably Apprised of the Website's Terms, and
               Never Assented to the Arbitration Clause.

      Luminess cannot rely on its Terms to force Plaintiff into arbitration here

because Ruthrauff never agreed to them. Simply put, no contract to arbitrate was

ever formed.

      As arbitration is a matter of contract, “the first task of a court asked to

compel arbitration of a dispute is to determine whether the parties agreed to

arbitrate that dispute.” Mitsubishi Motors Corp. v. Soler Chrysler–Plymouth, Inc.,

                                                                                      6
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 7 of 22




473 U.S. 614, 626 (1985); see also Chastain v. Robinson–Humphrey Co., Inc., 957

F.2d 851, 854 (11th Cir. 1992). “A court must first consider ‘any formation

challenge to the contract containing the arbitration clause,’ Solymar Invs., Ltd. v.

Banco Santander S.A., 672 F.3d 981, 990 (11th Cir. 2012), because ‘a party plainly

cannot be bound by an arbitration clause to which it does not consent.” BG Grp.,

PLC v. Republic of Argentina,134 S.Ct. 1198, 1213, 188 L.Ed.2d 220 (2014)’.”

Regan v. Stored Value Cards, Inc., 85 F. Supp. 3d 1357, 1359 (N.D. Ga. 2015)

(citations omitted). “[A] district court considering the making of an agreement to

arbitrate should give to the party denying the agreement the benefit of all

reasonable doubts and inferences that may arise.” Id. at 1360.

      “To form a valid contract under Georgia law, ‘there must be parties able to

contract, a consideration moving to the contract, the assent of the parties to the

terms of the contract, and a subject matter upon which the contract can operate’.”

Extremity Healthcare, Inc. v. Access To Care Am., LLC, 339 Ga. App. 246, 251

(2016). “Thus, unless and until there is the mutual assent of the parties to all

essential terms, there is no complete and enforceable contract.” Id. (citing

TranSouth Financial Corp. v. Rooks, 269 Ga. App. 321, 323 (2004)). “In

determining if parties had the mutual assent or meeting of the minds necessary to

reach agreement, courts apply an objective theory of intent whereby one party’s


                                                                                       7
         Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 8 of 22




intention is deemed to be that meaning a reasonable person in the position of the

other contracting party would ascribe to the first party’s manifestations of assent.”

Hart v. Hart, 297 Ga. 709, 711, 777 S.E.2d 431 (2015).

      Applied here, Ruthrauff disputes the existence and formation of any contract

requiring her to arbitrate her claims against Luminess. (See Ex. A ¶¶ 2-6.) She

denies ever going to the Website, viewing or agreeing to the Terms, or being

advised by a Luminess representative (or any other message) over the phone about

the existence of an arbitration agreement. (Id.) Brief references to the Terms on a

television informercial, a short reference to the Terms buried in fine print on a

packing slip which was sent after Plaintiff already made a purchase, and vague

references to the Terms supposedly made on a pre-recorded telephone message

(with no mention of an arbitration clause) are insufficient to constitute assent to the

arbitration clause at issue here.

      Indeed, while Luminess attaches the Packing List to its Motion, the only

details provided about the infomercial are that “the infomercial advised that Terms

and Conditions would apply to the special television offer and directed viewers and

would be purchasers to the public Luminess webpage, www.LuminessAir.com,

which contained the Terms and Conditions of purchase.” (Dkt. 10-1, at ¶ 2-3.) No

details are provided to show the manner by which the informercial advised viewers


                                                                                        8
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 9 of 22




about the Terms—i.e., was there an oral statement directing viewers to the

website? How often/frequently during the infomercial did this or any similar

message appear? Did a written statement appear on screen, buried in hard to

read/see print at the bottom? Again, how often and for how long was the message

displayed on the screen? It is entirely unclear on the present record how the

infomercial supposedly put consumers on notice.

      The same in true of Luminess’s statement that consumers who call it

“receive[] a recorded message which also directs consumers to the Terms and

Conditions on the public webpage”. (Dkt. 10-1. at ¶ 7.) No details are provided

about what the message specifically states, the context within which consumers are

directed to the Terms, whether the recorded message advises consumers of the

existence of an arbitration clause in the Terms, or whether consumers are notified

that continuing with the phone call would constitute agreement to the Terms.

Simply put, Luminess hasn’t met its burden.

      James v. Glob. Tel*Link Corp., a District of New Jersey case in which assent

to an arbitration agreement contained on the defendant’s website was supposedly

obtained over the telephone, is instructive. No. CV 13-4989 (WJM), 2016 WL

589676 (D.N.J. Feb. 11, 2016). As Luminess claims in part here, in James

consumers were notified over the phone by an automated system that the services


                                                                                     9
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 10 of 22




the defendant provided were governed by the defendant’s terms of use and that the

terms could be obtained on the defendant’s website. Id. at *4. Because consumers

were not required to “engage in any affirmative conduct to demonstrate acceptance

of the [terms of use],” the James court ultimately found that the arbitration

agreement was unenforceable. In doing so, the James court likened situations

where products are purchased over the telephone to internet browsewrap

agreements, where ‘by merely using the services of ... the website [ ] the user is

agreeing to and is bound by the site's terms of service.” Id. (citing Fteja v.

Facebook, Inc., 841 F. Supp. 2d 829, 837 (S.D.N.Y. 2012).)

      Luminess’s supposed contract with Ruthrauff fails for identical reasons.

That is, Luminess was required to put Ruthrauff on reasonable notice of the

existence of the Terms and, similar to a browsewrap agreement, the infomercial,

phone call, and reference to the terms in the packing slip all fall far short of doing

so. “Contracts formed on the Internet come primarily in two flavors: ‘clickwrap’

(or ‘click-through’) agreements, in which website users are required to click on an

“I agree” box after being presented with a list of terms and conditions of use; and

'browsewrap' agreements. . .” Nguyen v. Barnes & Noble Inc., 763 F.3d 1171,

1175–76 (9th Cir. 2014). Unlike clickwrap agreements, “‘[b]rowsewrap

agreements are those that purport to bind the users of websites’ where ‘the text of


                                                                                      10
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 11 of 22




the agreement is [generally] located on a separate webpage hyperlinked to the

website the user is accessing.’” Herman v. Seaworld Parks & Entertainment, Inc.,

Case No: 8:14-cv-3028-T-35JSS, 2016 WL 7447555, at *4 (M.D. Fla. Aug. 26,

2016) (citing AvePoint, Inc. v. Power Tools, Inc. 981 F. Supp. 2d 496, 510 (W.D.

Va. 2013)).

      In distinguishing between “clickwrap” and “browsewrap” agreements, the

Middle District of Florida has explained that:

      Unlike “clickwrap” agreements, where users are required to click an “I
      agree” box after being presented with a list of terms and conditions,
      browsewrap agreements do not require the user explicitly to assent to
      the terms and conditions of the agreements expressly; a party instead
      purportedly gives consent simply by using the website. “The defining
      feature of browsewrap agreements is that the user can continue to use
      the website or its services without visiting the page hosting the [terms
      of the] browsewrap agreement or even knowing that such a webpage
      exists.”

Herman, 2016 WL 7447555, at *4 (citations omitted). Hence, “‘[b]ecause no

affirmative action is required by the website user to agree to the terms of a contract

other than his or her use of the website, the determination of the validity of the

browsewrap contract depends on whether the user has actual or constructive

knowledge of a website's terms and conditions.’” Id. (emphasis added).

      With respect to actual or constructive knowledge, “[w]here ‘there is no

evidence that the website user had actual knowledge of the agreement, the validity


                                                                                     11
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 12 of 22




of the browsewrap agreement turns on whether the website puts a reasonably

prudent user on inquiry notice of the terms of the contract.’” Id. at *5 (citing

Nguyen, 763 F.3d 1171). Stated simply, “‘[b]rowsewrap’ agreements have only

been enforced when the hyperlink to the terms and conditions is conspicuous

enough to place the user on inquiry notice.” Vitacost.com, Inc. v. McCants, 210 So.

3d 761, 765 (Fla. Dist. Ct. App. 2017).

       In Herman, this Court found that a defendant’s terms and conditions

constituted an unenforceable browsewrap agreement where the hyperlink to the

terms and conditions was at the bottom of the page and below the “Continue”

button. Id. (“[T]he hyperlink is in small-print type at the very bottom of the

website and users must, unprompted, undertake to affirmatively scroll to the

bottom of the page to see the link.”). Further, the Court noted that users could

complete their purchases without ever having to see the hyperlink at all. Id.

(“Moreover, unlike the circumstances in Nguyen, a SeaWorld user may complete a

purchase of passes on the website without having to bring the hyperlink within his

or her line of vision.”).

       Furthermore, in James, the court found that merely notifying a user on a

recorded telephone message of the existence of the terms of use and where the

terms can be found was insufficient to form a legally enforceable contract where


                                                                                   12
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 13 of 22




consumers were not put on notice that “their use would be interpreted as

agreement” to the terms. James, 2016 WL 589676 at *5-*6. (citing Be In, Inc. v.

Google Inc., No. 12-CV-03373-LHK, 2013 WL 5568706, at *9 (N.D. Cal. Oct. 9,

2013) (stating that because only a link was provided to the terms of use there was

no grounds to find that defendants were put on notice that mere use constituted

assent); Holdbrook, 2015 WL 4476017, at *6 (finding no enforceable contract

where “there [was] no statement that signing the agreement indicated acceptance of

the ‘Terms and Conditions’, nor [was] there an instruction to sign the contract only

if [offeree] agreed to the additional terms.”)); see also Kraft Real Estate

Investments, LLC v. HomeAway.com, Inc., No. 4:08-CV-3788-TLW, 2009 WL

10677930, at *2 (D.S.C. May 14, 2009) (‘[T]his Court has not discovered[] a case

in which a court has enforced terms and conditions of use, based on their mere

presence somewhere on a website.); cf. Singh v. Uber Techs. Inc., 235 F. Supp. 3d

656, 666 (D.N.J. 2017) (finding assent where plaintiff “was required to review

and agree to the hyperlinked Raiser Agreement that was prominently displayed

within the Uber App's Terms and Conditions page”.) (emphasis added.)

      Applied here, Luminess claims that the informercial Plaintiff viewed advised

that its Terms and Conditions would apply to the television offer and directed




                                                                                     13
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 14 of 22




views to its website, which allegedly contained the Terms. (Dkt. 10 at 2.)2

Luminess further contends that after Ruthrauff purchased products over the phone,

Luminess shipped the products and enclosed a Packing List that mentioned its

Website, which contained the terms and conditions. (Id.)3 Luminess finally claims

that when a consumer calls it, the consumer hears a recorded message directing

consumers to the Terms. (Id.) None of this is sufficient to put a reasonably prudent

user on notice of the Terms and the arbitration clause. Similar to the situations in

Herman and James, consumers like Ruthrauff who call Luminess to order products

after seeing an infomercial may complete their orders without having to

affirmatively agree to the Terms or in fact to ever view them. Indeed, Luminess

doesn’t claim that consumers were required to affirmatively agree to its Terms—

Luminess claims merely that the “Terms and Conditions on the public webpage

and referenced in the informercial, Packing List, and prompts when calling

Luminess govern . . .” (Dkt. 10-1. at ¶ 10.) Referencing the Terms and requiring

consumers to affirmatively assent to the Terms are different matters.


2
 Again, Luminess presents no evidence of the manner by which the Terms were
presented on the infomercials. At this point it could have been briefly mentioned in
a single passing instance—Luminess hasn't met its burden of showing an
agreement to arbitrate.
3
 The reference to the Website on the Packing List is buried all the way at the
bottom of page 2 of the List and is in fine print. (See Dkt. 10-1 at 9.)

                                                                                       14
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 15 of 22




      And Luminess’s reliance on the Packing List is even more attenuated—

receiving a document after already making a purchase with language buried in

small print state that Terms can be found online does not manifest assent to the

Terms. Indeed, it is telling that Luminess could’ve included the arbitration

agreement in the terms that accompanied the Packing List terms but chose instead

to include a barely legible reference to the website Terms more generally—without

mentioning arbitration at all.

      In short, the Court should follow the decisions in James and Herman and

deny the Motion to Dismiss.

      B.     The Agreement is Procedurally and Substantively Unconscionable
             in Any Case.

      Even if the Court were to find that a valid contract was formed, the

arbitration agreement set forth in the Terms is unenforceable because it is

procedurally and substantively unconscionable.

      An arbitration agreement is susceptible to the same contract defenses as any

other contract. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011).

One potent contractual defense is unconscionability. “[T]he basic test for

determining unconscionability is ‘whether, in the light of the general commercial

background and the commercial needs of the particular trade or case, the clauses

involved are so one-sided as to be unconscionable under the circumstances existing

                                                                                    15
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 16 of 22




at the time of the making of the contract’.” NEC Techs., Inc. v. Nelson, 267 Ga.

390, 478 S.E.2d 769, 771 (1996) (quoting U.C.C. § 2–302 cmt. 1). Georgia law

recognizes both procedural and substantive unconscionability. Id. “Most courts

take a “balancing approach” to the unconscionability question, and to tip the scales

in favor of unconscionability, most courts seem to require a certain quantum of

procedural plus a certain quantum of substantive unconscionability.” Id. at 773.

      As explained below, Luminess’s Terms suffer from fatal doses of both

procedural and substantive unconscionability.

             1. Luminess’s so-called presentation of the Agreement was
                procedurally unconscionable.

       “[P]rocedural unconscionability address the process of making a contract.”

Dale v. Comcast Corp., 498 F.3d 1216, 1219 (11th Cir. 2007). “A non-inclusive

list of some factors courts have considered in determining whether a contract is

procedurally unconscionable includes the age, education, intelligence, business

acumen and experience of the parties, their relative bargaining power, the

conspicuousness and comprehensibility of the contract language, the

oppressiveness of the terms, and the presence or absence of a meaningful choice.”

NEC Techs., Inc., 478 S.E.2d at 771-72.

      Applied here, Luminess’s Terms are supposedly referenced in passing

during a television infomercial (again, it is unclear how or how often) and are then

                                                                                   16
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 17 of 22




briefly mentioned in the fine print of a Packing List after a purchase has already

been made. Consumers do not need to affirmatively assent to the Terms before

making a purchase, are not alerted to their existence during purchase calls, and

never need to view the Terms—yet, supposedly, they’re bound by them. This

amounts to unfair surprise. Furthermore, Ruthrauff, a layperson, had no bargaining

power and no opportunity to negotiate the terms this contract—with the agreement

hidden such that she was completely unaware of its existence, how could she?

      In short, Luminess’s Terms bear all the hallmarks of a procedurally

unconscionable contract.

             2. The Terms are also substantively unconscionable.

      The Terms are also substantively unconscionable. “To determine substantive

unconscionability, courts focus on matters such as the commercial reasonableness

of the contract terms, the purpose and effect of the terms, the allocation of the risks

between the parties, and similar public policy concerns.” Dale, 498 F.3d at 1219.

      Though the Agreement is primarily unconscionable for its oppressive,

adhesive, and surprising nature, it also unreasonably favors Luminess. Indeed, any

attempt to analogize this case to the arbitration agreement at issue in AT&T

Mobility LLC v. Concepcion, 131 S. Ct. 1740 (2011) fails. In that case, AT&T's

arbitration agreement was laden with consumer-friendly incentives that made


                                                                                     17
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 18 of 22




arbitration a more-even playing field. For example, AT&T’s arbitration agreement

was objectively favorable to consumers with valid claims, specifying that: (1)

AT&T had no ability to seek reimbursement of its attorney’s fees, and (2) in the

event that a consumer received an arbitration award greater than AT&T’s last

written settlement offer, AT&T would pay a $7,500 minimum recovery and twice

the amount of the consumer’s attorney’s fees. Concepcion, 131 S. Ct. at 1744.

Such provisions were deemed sufficient in the eyes of the Supreme Court to

incentivize attorneys to assist AT&T's customers in vindicating their rights. Id. at

1753 (approving the district court’s finding that “the scheme [is] sufficient to

provide incentive for the individual prosecution of meritorious claims that are not

immediately settled” and the Ninth Circuit’s finding that consumers who filed

claims would be “essentially guaranteed” to be made whole.) The Supreme Court

agreed with the District Court that consumers would be better off arbitrating than

proceeding as part of a class action.

      In stark contrast here, Luminess's Terms contain barely any of the consumer-

friendly provisions found in Concepcion. Unlike Concepcion, there is little

incentive to actually proceed with arbitration—allowing Luminess to escape being

held accountable for its conduct. Indeed, there is no incentive in Luminess’s

agreement for attorneys to take on cases—attorneys’ fees are not recoverable and


                                                                                       18
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 19 of 22




Luminess will only cover the cost of arbitration if an arbitrator determines that the

claim is non-frivolous based on no defined criteria. Put simply, Luminess’s dispute

resolution provisions are damaging to consumers and the Court should refuse to

compel arbitration.

      As a final point, while Luminess’s arbitration clause ostensibly offers

consumers the opportunity to opt-out, this provision is also stacked against

consumers. That is, consumers must opt-out within 30 days “of purchase, use, or

attempted use of a Luminess Direct Product”—this means that the 30-day clock is

triggered anytime a consumer samples (or indeed makes any attempt to sample)

one of Luminess’s products at a retail store or at a friend’s home. This is

unreasonably one-sided and strips consumers of any meaningful opportunity to

opt-out. Moreover, it also means that consumers are at the whim of the postal

service—if an item takes two weeks to ship, even assuming the consumer saw the

reference to the Terms on the second page of the packing slip and visited the

website immediately they would only have another two weeks to opt-out.

      Accordingly, the Court should decline to dismiss on arbitration grounds due

to the substantively unconscionable nature of the agreement as well.

IV.   CONCLUSION




                                                                                    19
       Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 20 of 22




      Defendant’s Motion to Dismiss should be denied. No contract was ever

formed. And even if, assuming arguendo that the Court finds otherwise, the

contract is both procedurally and substantively unconscionable.

Dated: April 24, 2018                 Respectfully submitted,

                                      CYNTHIA RUTHRAUFF, individually
                                      and on behalf of all others similarly situated,



                                      By: s/ Patrick H. Peluso
                                      One of Plaintiff’s Attorneys

                                      Jennifer Auer Jordan
                                      Georgia Bar Number: 027857
                                      (jordan@ssjwlaw.com)
                                      Shamp Speed Jordan Woodward LLC
                                      1718 Peachtree Street NW, Suite 660
                                      Atlanta, Georgia 30309
                                      Tel: 404-893-9400

                                      Steven L. Woodrow
                                      (swoodrow@woodrowpeluso.com)*
                                      Patrick H. Peluso
                                      (ppeluso@woodrowpeluso.com)*
                                      Woodrow & Peluso, LLC
                                      3900 East Mexico Ave., Suite 300
                                      Denver, Colorado 80210
                                      Telephone: (720) 213-0675
                                      Facsimile: (303) 927-0809
                                      Counsel for Plaintiff and the Putative
                                      Classes

                                      *pro hac vice



                                                                                   20
        Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 21 of 22




                            CERTIFICATE OF SERVICE

      I hereby certify that on April 24, 2018, I served the above and foregoing

papers by causing a true and accurate copy of such paper to be filed with the Clerk

of the Court and transmitted to all counsel of record via the Court’s CM/ECF

electronic filing system.



                                         /s/ Patrick H. Peluso




                                                                                  21
       Case 1:18-cv-00704-AT Document 18 Filed 04/24/18 Page 22 of 22




                     LOCAL RULE 5.1 CERTIFICATION

      I hereby certify that on April 24, 2018, I filed the above and foregoing papers

with the Clerk of the Court and that such paper complies with Local Rule 5.1 and

was prepared using a typeface of 14 points in Times New Roman.

                                      /s/ Patrick H. Peluso




                                                                                  22
